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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



IN RE: NATIONAL PRESCRIPTION OPIATE                          MDL No. 2804
LITIGATION
                                                             Case No. 17-md-2804
This document relates to:
                                                             Judge Dan Aaron Polster
Track 8 - 1:18-op-45817-DAP
Track 9 - 1:18-op-45274-DAP
Track 10 - 1:19-op-45346-DAP



                    KROGER’S MOTION FOR STAY
  OF ALL PROCEEDINGS AND CONTINUATION OF DEADLINES AS TO KROGER
                        IN MDL TRACKS 8 – 10

         The Kroger Co., Kroger Limited Partnership I, Kroger Limited Partnership II, Kroger

Texas LP and Harris Teeter, LLC, f/k/a Harris Teeter, Inc. f/k/a RDK Investment Company and

Harris Teeter Supermarkets, Inc. (collectively “Kroger”) respectfully move this Honorable Court

for a Stay of All Proceedings and an Extension of Deadlines as to Kroger in MDL Tracks 8 – 10.


               In support, Kroger asserts:


         1.    Kroger previously provided Notice to this Court that Kroger had reached an

agreement in principle on monetary terms with State AGs, Tribes and subdivisions to resolve all

pending opioid litigation within the states where Kroger has pharmacies.

         2.    On October 4, 2023, Kroger moved the Court to stay MDL Tracks 8-10 as to Kroger

until the settlement agreement is finalized.

         3.    On October 20, 2023, the Court entered non-document orders in Tracks 8, 9 and 10

granting Kroger’s Motion for Stay for a period of 90 days.


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          4.    On January 17, 2024, the Court granted Kroger’s Unopposed Motion for a Stay for

period of 30 days.

          5.    On February 20, 2024, the Court granted Kroger’s Unopposed Motion for a Stay

for period of 30 days.

          6.    Plaintiffs and Kroger reached an agreement on all terms for Kroger’s Global

Settlement Agreement and signed the agreement on March 22, 2024.

          7.    On March 22, 2024, the Court granted Kroger’s Unopposed Motion for a Stay for

a period of 45 days.

          8.    On March 25, 2024, the state opt-in period for Kroger’s Global Settlement

Agreement began.

          9.    On May 2, 2024, Kroger, the State AGs, and the PEC agreed to extend the deadline

for Kroger to decide whether to proceed with Kroger’s Global Settlement based on the number of

state opt-ins until May 14, 2024.

          10.   On May 6, 2024, the Court granted Kroger’s Unopposed Motion for a Stay of All

Proceedings and an Extension of Deadlines as to Kroger be extended for a period of 30 days.

          11.   On May 14, 2024, the subdivision opt-in period for Kroger’s Global Settlement

Agreement began.

          12.   On June 7, 2024, the Court granted Kroger’s Unopposed Motion for a Stay of All

Proceedings and an Extension of Deadlines as to Kroger be extended for a period of 90 days. That

stay expires on September 7, 2024.

          13.   The current subdivision opt-in deadline is September 11, 2024, after which Kroger

will have 30 days to determine whether to proceed with the Settlement based on the participation

levels.


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         14.    To provide sufficient time for the opt-in period to close and for Kroger to determine

whether to proceed with the Settlement, Kroger respectfully requests that the Stay of All

Proceedings and an Extension of Deadlines as to Kroger be extended for 34 days, through

October 11, 2024.

         15.    Counsel for plaintiff in Track 9 indicated on September 6, 2024, that they agreed

to this extension. Counsel for plaintiffs in Tracks 8 and 10 have not yet responded to the request

for their position.


Date: September 6, 2024                               Respectfully submitted,

                                                      Counsel for Kroger,

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                                CERTIFICATE OF SERVICE

               I certify that on this 6th day of September, 2024, the foregoing document was filed

using the Court’s CM/ECF system which will electronically send a copy of the document to all

counsel of record.


                                                    s/ Ronda L. Harvey
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                                                    Harris Teeter, Inc. f/k/a RDK Investment
                                                    Company and Harris Teeter Supermarkets,
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